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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

                                                                     )
     In re:                                                          )     Chapter 11
                                                                     )
     VOYAGER DIGITAL HOLDINGS, INC., et al.,1                        )     Case No. 22-10943 (MEW)
                                                                     )
                                        Debtors.                     )     (Jointly Administered)
                                                                     )

  CORRECTED AND AMENDED ORDER (I) APPROVING THE SECOND AMENDED
        DISCLOSURE STATEMENT AND (II) CONFIRMING THE THIRD
    AMENDED JOINT PLAN OF VOYAGER DIGITAL HOLDINGS, INC. AND ITS
 DEBTOR AFFILIATES PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

              Voyager Digital Holdings, Inc. and its debtor affiliates, as debtors and debtors in

 possession in the above-captioned chapter 11 cases (collectively, the “Debtors”)2 having:

              a.    commenced, on July 5, 2022 (the “Petition Date”), these chapter 11 cases
                    (the “Chapter 11 Cases”) by filing voluntary petitions for relief in the United States
                    Bankruptcy Court for the Southern District of New York (the “Court”) under
                    chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”);

              b.    continued to operate their business and manage their property during these
                    Chapter 11 Cases as debtors in possession pursuant to sections 1107(a) and 1108
                    of the Bankruptcy Code;

              c.    filed,3 on July 21, 2022, the Debtors’ Motion Seeking Entry of an Order
                    (I) Approving the Bidding Procedures and Related Dates and Deadlines,
                    (II) Scheduling Hearings and Objection Deadlines with Respect to the Debtors’
                    Sale, Disclosure Statement, and Plan Confirmation, and (III) Granting Related
                    Relief [Docket No. 126];



 1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
       number, are: Voyager Digital Holdings, Inc. (7687); Voyager Digital, Ltd. (7224); and Voyager Digital, LLC
       (8013). The location of the Debtors’ principal place of business is 33 Irving Place, Suite 3060, New York, NY
       10003.

 2     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Plan, the
       Disclosure Statement, the Asset Purchase Agreement, or the Bankruptcy Code (each as defined herein), as
       applicable. The rules of interpretation set forth in Article I.B. of the Plan apply.

 3     Unless otherwise indicated, use of the term “filed” herein refers also to the service of the applicable document
       filed on the docket in these Chapter 11 Cases, as applicable.
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      d.       obtained, on August 5, 2022, the entry of the Order (I) Approving the Bidding
               Procedures, (II) Scheduling the Bid Deadlines and the Auction, (III) Approving the
               Form and Manner of Notice Thereof, (IV) Scheduling Hearings and Objection
               Deadlines with Respect to the Debtors’ Sale, Disclosure Statement, and Plan
               Confirmation and (V) Granting Related Relief [Docket No. 248] (the “Bidding
               Procedures Order”) approving the Bidding Procedures for the Submission, Receipt,
               and Analysis of Bids in Connection with the Sale of the Debtors, attached to the
               Bidding Procedures Order as Exhibit 1 (the “Bidding Procedures”);

      e.       commenced, on September 13, 2022, the Auction for the sale of substantially all of
               the Debtors’ assets in accordance with the Bidding Procedures;

      f.       selected West Realm Shires Inc. (“FTX US”) as the Winning Bidder (as defined in
               the Bidding Procedures);

      g.       obtained, on October 20, 2022, entry of the Order (I) Authorizing Entry of the Asset
               Purchase Agreement and (II) Granting Related Relief [Docket No. 581], which
               authorized entry into that certain asset purchase agreement by and between Voyager
               Digital, LLC and West Realm Shires Inc. (together with its affiliates, “FTX US,”
               and the asset purchase agreement, the “FTX US Asset Purchase Agreement”);

      h.       filed, on December 9, 2022, the Stipulation and Agreed Order [Docket No. 717] by
               and between FTX US and the Debtors (the “FTX US APA Stipulation”),
               terminating the FTX US Asset Purchase Agreement;

      i.       filed, on December 21, 2022, the Debtors’ Motion for Entry of an Order
               (I) Authorizing Entry into the Binance US Purchase Agreement and (II) Granting
               Related Relief [Docket No. 775] and that certain asset purchase agreement by and
               between Voyager Digital, LLC and BAM Trading Services Inc. d/b/a Binance.US
               (together with its affiliates, “Binance.US,” and the asset purchase agreement,
               the “Asset Purchase Agreement”)

      j.       filed, on December 22, 2022, the Third Amended Joint Plan of Voyager Digital
               Holdings, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy
               Code [Docket No. 777] (as amended, modified, or supplemented from time to time,
               the “Plan”), the Second Amended Disclosure Statement Relating to the Third
               Amended Joint Plan of Voyager Digital Holdings, Inc. and Its Debtor Affiliates
               Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 778] (as amended,
               modified, or supplemented from time to time, the “Disclosure Statement”), and the
               Debtors’ Motion for Entry of an Order (I) Scheduling a Combined Disclosure
               Statement Approval and Plan Confirmation Hearing, (II) Conditionally Approving
               the Adequacy of the Debtors’ Disclosure Statement, (III) Approving (A) Procedures
               for Solicitation, (B) Forms of Ballots and Notices, (C) Procedures for Tabulation
               of Votes, and (D) Procedures for Objections, and (IV) Granting Related Relief
               [Docket No. 779];




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      k.       filed, on January 9, 2023, the first amendment to the Asset Purchase Agreement
               [Docket No. 835];

      l.       obtained, on January 10, 2023, approval of the FTX US APA Stipulation [Docket
               No. 849];

      m.       filed, on January 10, 2023, the revised Plan [Docket No. 852];

      n.       filed, on January 13, 2023, the revised Disclosure Statement [Docket No. 863];

      o.       obtained, on January 13, 2023, entry of the Order (I) Authorizing Entry into the
               Asset Purchase Agreement and (II) Granting Related Relief [Docket No. 775],
               which granted entry into the asset purchase agreement with Binance.US (the “Asset
               Purchase Agreement Order”);

      p.       obtained, on January 13, 2023, entry of the Order (I) Scheduling a Combined
               Disclosure Statement Approval and Plan Confirmation Hearing, (II) Conditionally
               Approving the Adequacy of the Debtors’ Disclosure Statement, (III) Approving
               (A) Procedures for Solicitation, (B) Forms of Ballots and Notices, (C) Procedures
               for Tabulation of Votes and (D) Procedures for Objections [Docket No. 861]
               (the “Conditional Disclosure Statement Order”) conditionally approving the
               Disclosure Statement, solicitation procedures (the “Solicitation Procedures”), and
               solicitation materials, including notices, forms, and ballots (collectively,
               the “Solicitation Packages”);

      q.       caused the Solicitation Packages and notice of the Combined Hearing and the
               deadline for objecting to the Disclosure Statement and to confirmation of the Plan
               (“Confirmation”) to be distributed on or before January 25, 2023 (the “Solicitation
               Date”), in accordance with the Bankruptcy Code, the Federal Rules of Bankruptcy
               Procedure (the “Bankruptcy Rules”), the Local Bankruptcy Rules for the Southern
               District of New York (the “Local Rules”), the Disclosure Statement Order, and the
               Solicitation Procedures, as evidenced by, among other things, the Affidavit of
               Service [Docket No. 926] and the Supplemental Affidavit of Service [Docket Nos.
               927 and 1016] (collectively, the “Affidavit of Solicitation”);

      r.       filed, on February 1, 2023, the Plan Supplement for the Third Amended Joint Plan
               of Voyager Digital Holdings, Inc. and Its Debtor Affiliates [Docket No. 943]
               (the “Initial Plan Supplement”) and caused notice of the filing of the Initial Plan
               Supplement to be distributed in accordance with paragraph 12 of the Disclosure
               Statement Order, as evidenced by, among other things, the Affidavit of Service
               [Docket No. 951];

      s.       published, on February 3, 2023, notice of the Combined Hearing (the “Combined
               Hearing Notice”) in the The New York Times (National Edition) and Financial
               Times (International Edition), as evidenced by the Affidavits of Publication
               [Docket Nos. 954 and 955] (the “Publication Affidavits” and, together with the
               Affidavit of Solicitation, the “Affidavits”);


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      t.       filed, on February 8, 2023, the First Amended Plan Supplement for the Third
               Amended Joint Plan of Voyager Digital Holdings, Inc. and Its Debtor Affiliates
               [Docket No. 986] (the “First Amended Plan Supplement”) and caused notice of the
               filing of the First Amended Plan Supplement to be distributed in accordance with
               paragraph 12 of the Disclosure Statement Order, as evidenced by, among other
               things, the Affidavit of Service [Docket No. 992];

      u.       filed, on February 15, 2023, the Second Amended Plan Supplement for the Third
               Amended Joint Plan of Voyager Digital Holdings, Inc. and Its Debtor Affiliates
               (the “Second Amended Plan Supplement”) [Docket No. 1006] and caused notice of
               the filing of the Second Amended Plan Supplement to be distributed in accordance
               with paragraph 12 of the Disclosure Statement Order, as evidenced by, among other
               things, the Affidavit of Service [Docket No. 1037];

      v.       filed, on February 21, 2023, the Third Amended Plan Supplement for the Third
               Amended Joint Plan of Voyager Digital Holdings, Inc. and Its Debtor Affiliates
               (the “Third Amended Plan Supplement”) [Docket No. 1035] and caused notice of
               the filing of the Third Amended Plan Supplement to be distributed in accordance
               with paragraph 12 of the Disclosure Statement Order, as evidenced by, among other
               things, the Affidavit of Service [Docket No. 1058];

      w.       filed, on February 28, 2023, the Declaration of Leticia Sanchez Regarding the
               Solicitation and Tabulation of Votes on the Third Amended Joint Plan of Voyager
               Digital Holdings, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the
               Bankruptcy Code [Docket No. 1108];

      x.       filed, on February 28, 2023, the Debtors’ Memorandum of Law in Support of
               (I) Final Approval of the Second Amended Disclosure Statement Relating to the
               Third Amended Joint Plan of Voyager Digital Holdings, Inc. and Its Debtor
               Affiliates Pursuant to Chapter 11 of the Bankruptcy Code and (II) an Order
               Confirming the Debtors’ Third Amended Joint Chapter 11 Plan of Voyager Digital
               Holdings, Inc. and Its Debtor Affiliates [Docket No. 1110] (the “Confirmation
               Brief”);

      y.       filed, on February 28, 2023, the Declaration of Timothy R. Pohl, Independent
               Director and Member of the Special Committee of the Board of Directors of
               Voyager Digital, LLC, in Support of Confirmation of the Third Amended Joint Plan
               of Voyager Digital Holdings, Inc. and Its Debtor Affiliates Pursuant to Chapter 11
               of the Bankruptcy Code [Docket No. 1111] (the “Pohl Declaration”), which was
               admitted into evidence at the Combined Hearing;

      z.       filed, on February 28, 2023, the Declaration of Brian Tichenor in Support of
               Confirmation of the Third Amended Joint Plan of Voyager Digital Holdings, Inc.
               and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code [Docket
               No. 1113] (the “Tichenor Declaration”), which was admitted into evidence at the
               Combined Hearing;


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      aa.      filed, on February 28, 2023, the Fourth Amended Plan Supplement for the Third
               Amended Joint Plan of Voyager Digital Holdings, Inc. and Its Debtor Affiliates
               (the “Fourth Amended Plan Supplement”) [Docket No. 1115] and will cause notice
               of the filing of the Fourth Amended Plan Supplement to be distributed in
               accordance with paragraph 12 of the Disclosure Statement Order;

      bb.      filed, on February 28, 2023, the revised version of the Third Amended Joint Plan
               of Voyager Digital Holdings, Inc. and Its Debtor Affiliates Pursuant to Chapter 11
               of the Bankruptcy Code [Docket No. 1117];

      cc.      filed, on February 28, 2023, the Declaration of Mark A. Renzi in Support of
               Confirmation of the Third Amended Joint Plan of Voyager Digital Holdings, Inc.
               and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code [Docket
               No. 1119] (the “Renzi Declaration”), which was admitted into evidence at the
               Combined Hearing for certain limited purposes;

      dd.      filed, on March 1, 2023, the revised version of the Third Amended Joint Plan of
               Voyager Digital Holdings, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of
               the Bankruptcy Code [Docket No. 1125];

      ee.      filed, on March 1, 2023, the Amended Declaration of Leticia Sanchez Regarding
               the Solicitation and Tabulation of Votes on the Third Amended Joint Plan of
               Voyager Digital Holdings, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of
               the Bankruptcy Code [Docket No. 1127] (the “Voting Report” and, together with
               the Pohl Declaration, the Tichenor Declaration and the Renzi Declaration, the
               “Declarations”);

      ff.      filed, on March 5, 2023, the revised version of the Third Amended Joint Plan of
               Voyager Digital Holdings, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of
               the Bankruptcy Code [Docket No. 1138];

      gg.      filed, on March 6, 2023, the Fifth Amended Plan Supplement for the Third Amended
               Joint Plan of Voyager Digital Holdings, Inc. and Its Debtor Affiliates [Docket
               No. 1143]; and

      hh.      filed, on March 7, 2023, a revised Fifth Amended Plan Supplement for the Third
               Amended Joint Plan of Voyager Digital Holdings, Inc. and Its Debtor Affiliates
               (the “Fifth Amended Plan Supplement”) (together with the Initial Plan Supplement,
               First Amended Plan Supplement, Second Amended Plan Supplement, Third
               Amended Plan Supplement, and Fourth Amended Plan Supplement, and as may be
               modified, amended, or supplemented from time to time, the “Plan Supplement”)
               [Docket No. 1149] and will cause notice of the filing of the Fifth Amended Plan
               Supplement to be distributed in accordance with paragraph 12 of the Disclosure
               Statement Order.

      The Court having:

      a.       entered the Bidding Procedures Order on August 5, 2022 [Docket No. 248];
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        b.     entered the Asset Purchase Agreement Order on January 13, 2023 [Docket No.
               775];

        c.     entered the Conditional Disclosure Statement Order on January 13, 2023 [Docket
               No. 861];

        d.     set February 22, 2023, at 4:00 p.m. (prevailing Eastern Time) as the deadline to
               object to the Disclosure Statement and the Plan and to object to proposed cure costs
               and any assumption of an Executory Contract or Unexpired Lease pursuant to the
               Schedule of Assumed Executory Contracts and Unexpired Leases (the “Assumed
               Contract Schedule”), filed as Exhibit A to the Plan Supplement (the “Plan Objection
               Deadline”);

        e.     set February 22, 2023, at 4:00 p.m. (prevailing Eastern Time) as the deadline for
               voting on the Plan (the “Voting Deadline”);

        f.     set March 2, 2023 at 10:00 a.m. (prevailing Eastern Time) as the date and time for
               the commencement of the Combined Hearing, pursuant to Bankruptcy Rules 3017
               and 3018 and sections 1126, 1128, and 1129 of the Bankruptcy Code;

        g.     reviewed the Plan, the Disclosure Statement, the Plan Supplement, the
               Confirmation Brief, the Declarations, the Voting Report, the Combined Hearing
               Notice, the Affidavits, and all filed pleadings, exhibits, statements, and comments
               regarding Confirmation, including all objections, statements, and reservations of
               rights filed by parties in interest on the docket of the Chapter 11 Cases;

        h.     held the Combined Hearing beginning March 2, 2023 at 10:00 a.m., prevailing
               Eastern Time and continuing on March 3, 2023, March 6, 2023, and March 7, 2023;

        i.     heard the statements and arguments made by counsel with respect to final approval
               of the Disclosure Statement and Confirmation of the Plan;

        j.     considered all oral representations, live testimony, written direct testimony,
               exhibits, documents, filings, and other evidence presented at the Combined
               Hearing; and

        k.     dictated its decision with respect to disputed factual and legal issues at the
               conclusion of Combined Hearing, the text of which shall be revised as necessary
               and issued as the Court’s formal decision with respect to Confirmation of the Plan
               and resolution of all outstanding objections thereto (the “Decision”),

        NOW, THEREFORE, after due deliberation thereon and good cause appearing therefor,

 the Court makes and issues the following findings of fact and conclusions of law, and orders:




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                     JURISDICTION, VENUE AND CORE PROCEEDING

        The Court has jurisdiction over these Chapter 11 Cases pursuant to 28 U.S.C. §§ 157 and

 1334 and the Amended Standing Order of Reference from the United States District Court for the

 Southern District of New York, entered February 1, 2012. The Court has exclusive jurisdiction to

 determine whether the Disclosure Statement and the Plan comply with the applicable provisions

 of the Bankruptcy Code and should be approved and confirmed, respectively. Venue is proper

 pursuant to 28 U.S.C. §§ 1408 and 1409. Confirmation of the Plan is a core proceeding within

 the meaning of 28 U.S.C. § 157(b)(2).

                          MODIFICATIONS TO PROPOSED PLAN

        The following modifications and amendments to the Plan and its supporting documents

 either have already been made or hereby are deemed to have been made. All references herein

 to the “Plan” (including the copy of the Plan that is attached hereto) and to the “Asset

 Purchase Agreement” shall be interpreted as references to the Plan and the Asset Purchase

 Agreement as modified by the following provisions.

               A.      Article VIII.C of each filed versions of the Plan is hereby stricken in its

        entirety and Article VIII.C of the Plan is deemed to have been revised to state as follows:

               “Effective as of the Effective Date, to the fullest extent permissible under
               applicable law and without affecting or limiting either the Debtor release or
               the third-party release, and except as otherwise specifically provided in the
               Plan, no Exculpated Party shall have or incur, and each Exculpated Party is
               hereby exculpated from, any liability for damages based on the negotiation,
               execution and implementation of any transactions or actions approved by the
               Bankruptcy Court in the Chapter 11 Cases, except for Causes of Action related
               to any act or omission that is determined in a Final Order to have constituted
               actual fraud, willful misconduct, or gross negligence; provided that nothing in




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                the Plan shall limit the liability of professionals to their clients pursuant to
                N.Y. Comp. Codes R. & Regs. tit. 22 § 1200.8 Rule 1.8(h)(1) (2009).

                The Exculpated Parties have, and upon Consummation of the Plan shall be
                deemed to have, participated in good faith and in compliance with the
                applicable laws with regard to the solicitation of votes.

                In addition, the Plan contemplates certain rebalancing transactions and the
                completion of distributions of cryptocurrencies to creditors. The Exculpated
                Parties shall have no liability for, and are exculpated from, any claim for fines,
                penalties, damages, or other liabilities based on their execution and completion
                of the rebalancing transactions and the distribution of cryptocurrencies to
                creditors in the manner provided in the Plan.

                For the avoidance of doubt, the foregoing paragraph reflects the fact that
                Confirmation of the Plan requires the Exculpated Parties to engage in certain
                rebalancing transactions and distributions of cryptocurrencies and the fact
                that no regulatory authority has taken the position during the Combined
                Hearing that such conduct would violate applicable laws or regulations.
                Nothing in this provision shall limit in any way the powers of any
                Governmental Unit to contend that any rebalancing transaction should be
                stopped or prevented, or that any other action contemplated by the Plan
                should be enjoined or prevented from proceeding further. Nor does anything
                in this provision limit the enforcement of any future regulatory or court order
                that requires that such activities either cease or be modified, or limit the
                penalties that may be applicable if such a future regulatory or court order is
                issued and is violated. Similarly, nothing herein shall limit the authority of the
                Committee on Foreign Investment of the United States to bar any of the
                contemplated transactions. Nor does anything in this provision alter the terms
                of the Plan regarding the compliance of the Purchaser with applicable laws in
                the Unsupported Jurisdictions before distributions of cryptocurrency occur in
                those Unsupported Jurisdictions.

 And all references herein the approval, reasonableness, scope or applicability of Article VIII.C of

 the Plan. or of the “exculpation” provisions of the Plan, shall refer only to the exculpation

 provisions as set forth above.

                B.      The following proviso is deemed to have been added to Article I.A.60 of

        the Plan:

                “provided that any documents included in subsection (i) only include
                documents arising on or after the Petition Date but prior to the Effective Date
                and that are within the jurisdiction of the Bankruptcy Court”;


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               C.      The following definition is deemed to have been added as Article I.A.98 of

      the Plan:

               “‘Independent Directors’ means the independent directors at HoldCo, OpCo,
               and TopCo from the Petition Date forward, including, for the avoidance of
               doubt, following the Effective Date”;

               D.      The following definition is deemed to have been added as Article I.A.104

      of the Plan:

               “‘Investigated Matters’ means (i) the Debtors’ loans to third parties, including
               the 3AC Loan; (ii) the diligence performed in connection with the loans
               described in (i); (iii) the formation and function of the Debtors’ Risk
               Committee; (iv) the Debtors’ staking of cryptocurrency assets; (v) the Debtors’
               regulatory compliance; (vi) the Debtors’ communications with the public; and
               (vii) the Debtors' pre-petition transfers to Released Voyager Employees
               (including customer withdrawals) within one (1) year of the Petition Date”;

               E.      Article I.A.77 of the Plan is deemed to have been revised to state:

               “‘Exculpated Parties’ means, collectively, and in each case in its capacity as
               such: (a) each of the Debtors; (b) the Committee, and each of the members
               thereof, solely in their capacity as such; (c) each of the Released Professionals;
               (d) each of the Released Voyager Employees; (e) the Plan Administrator;
               (f) the Distribution Agent; (g) each of the Independent Directors; and (h) any
               other person acting in a fiduciary capacity on behalf of the Debtors in
               connection with the negotiation, execution and implementation of any
               transactions or actions approved by the Bankruptcy Court in the Chapter 11
               Cases”;

               F.      Article I.A.140 of the Plan is deemed to have been revised to state:

               “‘Released Voyager Employees’ means the following directors, officers, and
               members of senior management of the Debtors serving in such capacity on or
               after the Petition Date whose conduct was reviewed as part of the Special
               Committee Investigation: Jennifer Ackert, David Brill, Brian Brooks, David
               Brosgol, Jonathan Brosnahan, Dan Constantino, Stephen Ehrlich, Philip
               Eytan, Rakesh Gidwani, Gerard Hanshe, Marshall Jensen, Pam Kramer,
               Manisha Lalwani, Brian Nistler, Ashwin Prithipaul, Evan Psaropoulos, Brian
               Silard, Glen Stevens, Krisztian Toth, and Ryan Whooley (subject to the
               limitations contained in Article IV.F and Article IV.G of the Plan)”;




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                G.      The following language is deemed to have been removed from Article

      VIII.A:

                “in whole or in part, the Debtors (including the management, ownership, or
                operation thereof), their capital structure, the purchase, sale, or rescission of
                the purchase or sale of any Security of the Debtors, the subject matter of, or
                the transactions or events giving rise to, any Claim or Interest that is treated
                in the Plan, the business or contractual arrangements between any Debtor and
                any Released Party” and replaced with “the Investigated Matters”;

                H.      Article IV.H.5(c) of the Plan is deemed to have been revised to state:

                “appointing an independent director at each Debtor to act as a fiduciary for
                such Debtor entity solely in connection with matters that may implicate actual
                or potential intra-Debtor conflicts of interests between the Plan Administrator
                and the applicable Debtor(s) or Wind-Down Debtor including (i) the
                Intercompany Claims; (ii) the Alameda Loan Facility Claims; (iii) the
                Signatory Governmental Claims (as defined in the Governmental Claimant
                Stipulation) asserted against TopCo; and (iv) any matter involving the transfer
                or allocation of value, claims, or costs between or among the Debtors, but only
                to the extent that such issues continue to implicate actual or potential intra-
                Debtor conflicts of interests between the Plan Administrator and the
                applicable Debtor(s) or Wind-Down Debtor”;

                I. Article VI.C.6 of the Plan is deemed revised to state:

                “In the event that any distribution to any Holder is returned as undeliverable
                and/or otherwise remains unclaimed, the Plan Administrator shall use
                reasonable efforts to contact such Holder; provided that no further
                distributions to such Holder shall be made unless and until the Plan
                Administrator has determined the then-current address of such Holder, at
                which time such distribution shall be made to such Holder without interest;
                provided, further, that such distributions shall be deemed unclaimed property
                under section 347(b) of the Bankruptcy Code at the expiration of six months
                from the applicable Distribution Date. After such date, all unclaimed property
                or interests in property shall revert to the Wind-Down Debtor automatically
                and without need for a further order by the Bankruptcy Court
                (notwithstanding any applicable federal, provincial, or state escheat,
                abandoned, or unclaimed property laws to the contrary), and the Claim or
                Interest of any Holder to such property or interest in property shall not be
                entitled to any distributions under the Plan.

                A distribution shall be deemed unclaimed if a Holder has not: (a) accepted a
                particular distribution or, in the case of distributions made by check,
                negotiated such check; (b) given notice to the Wind-Down Debtor of an intent
                to accept a particular distribution; (c) responded to the Wind-Down Debtor’s

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                   requests for information necessary to facilitate a particular distribution; or (d)
                   taken any other action necessary to facilitate such distribution”;

         J.        All references to section 1145 of the Bankruptcy Code and related provisions in the
                   Plan have been removed;

         K.        References to “Confirmation Date” in Article II.B.1 of the Plan are deemed revised
                   to state “Effective Date”; and

         L.        The Asset Purchase Agreement has been and is deemed to be amended to contain
                   the following provisions:

                           1.    There will be a two-week period for Account Holders to opt out of
                                 transferring (i) selfies, (ii) uploaded IDs or bank statements and
                                 (iii) bank account information to the Purchaser. Any opted out
                                 information would not be acquired by the Purchaser in the Sale
                                 Transaction. The opt out notice will be provided by the Debtors at
                                 the Debtors’ expense;

                           2.    The Seller Expense Start Date will be moved back to April 1, 2023
                                 (from March 18, 2023);

                           3.    If the Purchaser is ready to close by April 1, 2023 (assuming closing
                                 conditions are satisfied or waived by the Purchaser) and the Seller
                                 is not (including because the Seller declines to waive any Closing
                                 conditions, other than breaches or defaults by the Purchaser), then
                                 the Seller will cease to have Seller Expense reimbursement
                                 protection thereafter;

                           4.    Each of the Seller and Purchaser acknowledge that (i) the closing
                                 condition relating to entry and finalization of the Asset Purchase
                                 Agreement Order has been satisfied and (ii) to its knowledge, there
                                 is no breach of the Asset Purchase Agreement by the other party
                                 as of the date that this Confirmation Order is entered.

                                             FINDINGS OF FACT4

         1.        The findings of fact set forth in the Decision are incorporated herein by reference.




 4   The findings of fact and the conclusions of law set forth herein and in the Decision of the Court announced at the
     conclusion of the Combined Hearing constitute the Court’s findings of fact and its conclusions of law under
     rule 52 of the Federal Rules of Civil Procedure, as made applicable herein by Bankruptcy Rules 7052 and 9014.
     Many issues raised in connection with Confirmation of the Plan are mixed issues of law and fact, so to the extent
     any of the listed finding of fact constitute conclusions of law, or vice versa, they are adopted as such.


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          2.    The Disclosure Statement contains (a) sufficient information of a kind necessary to

 satisfy the disclosure requirements of all applicable nonbankruptcy laws, rules, and regulations,

 including the Securities Act, and (b) “adequate information” (as such term is defined in section

 1125(a) of the Bankruptcy Code and used in section 1126(b)(2) of the Bankruptcy Code) with

 respect to the Debtors, the Plan, and the transactions contemplated therein. All objections to the

 contents of the Disclosure Statement are overruled.

          3.    The Debtors provided due, adequate, and sufficient notice of the Disclosure

 Statement, the Conditional Disclosure Statement Order, the Plan, the Plan Supplement, the

 Solicitation Packages, the Combined Hearing Notice, the proposed assumption and rejection of

 Executory Contracts and Unexpired Leases and the proposed cure amounts, and all the other

 materials distributed by the Debtors in connection with Confirmation of the Plan, together with

 the Plan Objection Deadline, the Voting Deadline, and the Combined Hearing, and any applicable

 bar dates and hearings described in the Conditional Disclosure Statement Order, in compliance

 with the Bankruptcy Rules, Local Rules, and the procedures set forth in the Disclosure Statement

 Order.

          4.    Prior to the Combined Hearing, the Debtors filed the Voting Report. The Voting

 Report was admitted into evidence during the Combined Hearing. As described in the Voting

 Report, the solicitation of votes on the Plan complied with the Solicitation Procedures.

          5.    The Solicitation Packages, the Plan Supplement, and the Combined Hearing Notice

 were transmitted and served in compliance with this Court’s orders, and such transmission and

 service was timely, adequate, and sufficient.




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         6.     The period during which Holders in the Voting Classes were required to submit

 acceptances or rejections to the Plan was reasonable and sufficient for such Holders to make an

 informed decision to accept or reject the Plan.

         7.     Holders of Claims in Class 1 (Secured Tax Claims) and Class 2 (Other Priority

 Claims) (collectively, the “Presumed Accepting Classes”) are Unimpaired and conclusively

 presumed to accept the Plan and, therefore, did not vote to accept or reject the Plan. Holders of

 Claims in Class 7 (Intercompany Claims) and Interests in Class 8 (Intercompany Interests) either

 are Unimpaired and conclusively presumed to have accepted the Plan (to the extent reinstated) or

 Impaired and conclusively deemed to have rejected the Plan, and, therefore, are not entitled to vote

 to accept or reject the Plan. Holders of Claims in Class 5 (Alameda Loan Facility Claims) and

 Class 6 (Section 510(b) Claims) and Interests in Class 9 (Existing Equity Interests) (collectively,

 the “Deemed Rejecting Classes”) are Impaired under the Plan and are deemed to have rejected the

 Plan.

         8.     As evidenced by the Voting Report, Class 3 (Account Holder Claims),

 Class 4A (OpCo General Unsecured Claims), Class 4B (HoldCo General Unsecured Claims), and

 Class 4C (TopCo General Unsecured Claims) voted to accept the Plan in accordance with section

 1126 of the Bankruptcy Code.

         9.     Based on the foregoing, and as evidenced by the Voting Report, at least one

 Impaired Class of Claims (excluding the acceptance by any insiders of any of the Debtors) has

 voted to accept the Plan.

         10.    The Filing and notice of the documents included in the Plan Supplement were

 adequate and proper and in compliance with this Court’s orders.




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        11.      Any modifications to the Plan since the commencement of Solicitation described

 or set forth herein constitute technical changes or changes with respect to particular Claims or

 Interests made pursuant to the agreement of the Holders of such Claims or Interests and do not

 materially and adversely affect or change the treatment of any other Claims or Interests.

        12.      The Plan and all modifications thereto are dated and identify the Entities submitting

 them, thereby satisfying Bankruptcy Rule 3016(a). The Debtors appropriately filed the Disclosure

 Statement and the Plan with the Court, thereby satisfying Bankruptcy Rule 3016(b).

 The injunction, release, and exculpation provisions in the Disclosure Statement and the Plan

 describe, in bold font and with specific and conspicuous language, all acts to be enjoined and

 identify the entities that will be subject to the injunction, thereby satisfying Bankruptcy

 Rule 3016(c).

        13.      The Debtors’ decisions to assume or reject certain Executory Contracts and

 Unexpired Leases, as provided in Article V of the Plan and in the Plan Supplement, are reasonable

 exercises of the Debtors’ business judgment. The Debtors have demonstrated adequate assurance

 of future performance of the assumed Executory Contracts and Unexpired Leases within the

 meaning of section 365(b)(1)(C) of the Bankruptcy Code by the Wind-Down Debtor.

        14.      Consummation of the Sale Transaction is in the best interests of the Debtors, their

 Estates, and their creditors. The Debtors have exercised sound business judgment in selecting the

 Purchaser and the Debtors have done so without collusion and in good faith. The Purchaser is

 consummating the Sale Transaction in good faith and is a good faith buyer within the meaning of

 section 363(m) of the Bankruptcy Code. The Purchaser has proceeded in good faith and without

 collusion in all respects in connection with the Sale Transaction.




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         15.    The consideration provided by the Purchaser pursuant to the Asset Purchase

 Agreement (a) is fair and reasonable, (b) constitutes the best offer for the Acquired Assets, and

 (c) represents reasonably equivalent value for the assets being acquired.

         16.    As explained more fully in this Court’s Decision, the Debtors’ decision to effectuate

 the Sale Transaction or the Liquidation Transaction, as applicable, is an appropriate exercise of

 their business judgment.

         17.    The D&O Settlement constitutes a good-faith compromise and settlement of all

 Claims, Causes of Action, disputes, and controversies released, settled, compromised, or otherwise

 resolved between the Debtors and the CEO and CCO. The D&O Settlement is fair, equitable, and

 reasonable and in the best interests of the Debtors, their Estates, and Holders of Claims and

 Interests.




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                                    CONCLUSIONS OF LAW

        18.    The Plan complies with all applicable provisions of the Bankruptcy Code as

 required by section 1129(a)(1) of the Bankruptcy Code.

               (a)     In accordance with sections 1122(a) and 1123(a)(1) of the Bankruptcy

        Code, Article III of the Plan provides for the separate classification of Claims and Interests

        into eleven Classes. Valid business, factual, and legal reasons exist for the separate

        classification of such Classes of Claims and Interests. The classifications were not

        implemented for any improper purpose and do not unfairly discriminate between, or

        among, Holders of Claims or Interests. Each Class of Claims and Interests contains only

        Claims or Interests that are substantially similar to the other Claims or Interests within that

        Class. Accordingly, the Plan satisfies the requirements of sections 1122(a), 1122(b), and

        1123(a)(1) of the Bankruptcy Code.

               (b)     Article III of the Plan specifies that Claims in Class 1 (Secured Tax Claims)

        and Class 2 (Other Priority Claims) are Unimpaired under the Plan and Claims and Interests

        in Class 7 (Intercompany Claims) and Class 8 (Intercompany Interests), respectively, are

        either Impaired or Unimpaired under the Plan. Article II of the Plan specifies that Allowed

        Administrative Claims, Allowed Professional Fee Claims, Allowed Priority Tax Claims,

        and all fees due and payable pursuant to section 1930 of title 28 of the United States Code

        before the Effective Date will be paid in full in accordance with the terms of the Plan,

        although these Claims are not separately classified under the Plan. Accordingly, the Plan

        satisfies the requirements of section 1123(a)(2) of the Bankruptcy Code.

               (c)     Article III of the Plan specifies that Claims and Interests, as applicable, in

        the following Classes (collectively, the “Impaired Classes”) are Impaired under the Plan



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      within the meaning of section 1124 of the Bankruptcy Code, and describes the treatment

      of such Classes, in compliance with section 1123(a)(3) of the Bankruptcy Code:

                 Class           Designation
                 3               Account Holder Claims
                 4A              OpCo General Unsecured Claims
                 4B              HoldCo General Unsecured Claims
                 4C              TopCo General Unsecured Claims
                 5               Alameda Loan Facility Claims
                 6               Section 510(b) Claims
                 9               Existing Equity Interests


               (d)      The Plan provides for the same treatment by the Debtors for each Claim or

      Interest in each respective Class unless the Holder of a particular Claim or Interest has

      agreed to a less favorable treatment of such Claim or Interest, and complies with section

      1123(a)(4) of the Bankruptcy Code.

               (e)      The provisions in Article IV and elsewhere in the Plan and the Plan

      Supplement, and in the exhibits and attachments to the Disclosure Statement provide, in

      detail, adequate and proper means for the Plan’s implementation, in satisfaction of the

      requirements of section 1123(a)(5) of the Bankruptcy Code.

               (f)      On the Effective Date the Wind-Down Debtor Assets shall, subject to the

      Plan Administrator Agreement, be transferred to and vest in the Wind-Down Debtor. The

      Wind-Down Debtor shall be managed by the Plan Administrator and shall be subject to a

      Wind-Down Debtor Oversight Committee.             On or prior to the Effective Date, the

      Wind-Down Debtor’s organizational documents will be amended to prohibit the issuance

      of non-voting equity securities. Accordingly, the Plan satisfies the requirements of section

      1123(a)(6) of the Bankruptcy Code.




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               (g)      The Debtors have disclosed that the independent director at (i) Voyager

      Digital, LLC shall be Timothy R. Pohl and/or Jill Frizzley, (ii) Voyager Digital Holdings,

      Inc. shall be Scott Vogel, and (iii) Voyager Digital Ltd. shall be Matthew D. Ray.

      Article IV.J of the Plan provides that, upon filing of the certificate of dissolution (or

      equivalent document), the Wind-Down Debtor will be dissolved. Article IV.H of the Plan

      provides for the formation of the Wind-Down Debtor for the benefit of the Wind-Down

      Debtor Beneficiaries. Paul R. Hage will serve as Plan Administrator. The Wind-Down

      Debtor shall be managed by the Plan Administrator and shall be subject to a Wind-Down

      Debtor Oversight Committee, which will consist of Russell Stewart, Richard Kiss, and

      Melissa Freeman. The selection of the Plan Administrator and the appointment of the

      independent directors, and the provisions of the Plan and the Plan Administrator

      Agreement regarding the potential selection of successors to such persons, is consistent

      with the interests of Holders of Claims and Interests and public policy. Accordingly, the

      Plan satisfies the requirements of section 1123(a)(7) of the Bankruptcy Code.

               (h)      Article III of the Plan specifies that some Classes of Claims are Impaired

      and others are not Impaired, as permitted by section 1123(b)(1) of the Bankruptcy Code.

               (i)      As permitted by section 1123(b)(2) of the Bankruptcy Code, Article V of

      the Plan provides that, on the Effective Date, except as otherwise provided in the Plan, each

      Executory Contract and Unexpired Lease not previously rejected, assumed, or assumed

      and assigned, including any employee benefit plans, severance plans, and other Executory

      Contracts under which employee obligations arise, shall be deemed automatically rejected

      pursuant to sections 365 and 1123 of the Bankruptcy Code, unless such Executory Contract

      or Unexpired Lease: (1) is specifically described in the Plan as to be assumed in connection



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        with Confirmation of the Plan, or is specifically scheduled to be assumed or assumed and

        assigned pursuant to the Plan or the Plan Supplement; (2) is subject to a pending motion to

        assume such Unexpired Lease or Executory Contract as of the Effective Date; (3) is to be

        assumed by the Debtors or assumed by the Debtors and assigned to another third party, as

        applicable, in connection with the Sale Transaction; (4) is a contract, instrument, release,

        indenture, or other agreement or document entered into in connection with the Plan; or (5)

        is a D&O Liability Insurance Policy other than the Side-A Policy.

               (j)      The Plan provides for the settlement of certain potential claims against Mr.

        Ehrlich and Mr. Psaropolous, as permitted by section 1123(b)(3) of the Bankruptcy Code.

        It also provides for the retention of various causes of action as permitted by section

        1123(b)(3).

               (k)      The Plan provides for a sale of assets as permitted by section 1123(a)(4) of

        the Bankruptcy Code.

               (l)      The Plan includes other discretionary provisions that are approved in

        various parts of this Confirmation Order. The inclusion of such provisions is consistent

        with section 1123(b)(6) of the Bankruptcy Code.

        19.    The Debtors have complied with the applicable provisions of the Bankruptcy Code

 and satisfied the requirements of section 1129(a)(2) of the Bankruptcy Code. Specifically, each

 Debtor:

               (a)      is an eligible debtor under section 109 of the Bankruptcy Code and a proper

        proponent of the Plan under section 1121(a) of the Bankruptcy Code; and

               (b)      complied with the applicable provisions of the Bankruptcy Code, including

        sections 1125 and 1126, the Bankruptcy Rules, the Local Rules, any applicable



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        nonbankruptcy law, rule, and regulation, the Conditional Disclosure Statement Order, and

        all other applicable law, in transmitting the Solicitation Packages and related documents

        and notices, and in soliciting and tabulating the votes on the Plan.

        20.     The Plan satisfies the requirements of section 1129(a)(3) of the Bankruptcy Code.

 The Debtors have proposed the Plan in good faith and not by any means forbidden by law.

        21.     Any payment made or to be made by the Debtors for services or for costs and

 expenses in or in connection with these Chapter 11 Cases, or in connection with the Plan and

 incident to these Chapter 11 Cases, shall be subject to the approval of the Court for reasonableness,

 in compliance with section 1129(a)(4) of the Bankruptcy Code.

        22.     The Debtors have disclosed the names of the individuals who will serve as

 independent directors, as Plan Administrator, and as members of the Wind-Down Debtor

 Oversight Committee, and the appointment of such persons is consistent with the interests of

 creditors and equityholders and with public policy.

        23.     Section 1129(a)(6) of the Bankruptcy Code is not applicable to these Chapter 11

 Cases. The Plan does not propose any rate change subject to the jurisdiction of any governmental

 regulatory commission.

        24.     The Plan satisfies the requirements of section 1129(a)(7) of the Bankruptcy Code.

 The liquidation analysis attached to the Disclosure Statement and the other evidence related thereto

 in support of the Plan that was proffered or adduced in the Declarations or at, prior to, or in

 connection with the Combined Hearing: (a) are reasonable; (b) utilize reasonable and appropriate

 methodologies and assumptions; (c) have not been controverted by other evidence; and

 (d) establish that Holders of Allowed Claims and Interests in each Class will recover at least as

 much under the Plan on account of such Claim or Interest, as of the Effective Date, as such Holder



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 would receive if the Debtors were liquidated, on the Effective Date, under chapter 7 of the

 Bankruptcy Code.

        25.     No Class of voting creditors voted to reject the Plan. However, Class 5 (Alameda

 Loan Facility Claims), Class 6 (Section 510(b) Claims), and Class 9 (Existing Equity Interests) are

 impaired under the Plan and are deemed to reject the Plan. Because the Plan has not been accepted

 by the Deemed Rejecting Classes, the Debtors seek Confirmation under section 1129(b), solely

 with respect to the Deemed Rejecting Classes, rather than section 1129(a)(8) of the Bankruptcy

 Code. Although section 1129(a)(8) has not been satisfied with respect to the Deemed Rejecting

 Classes, the Plan is confirmable because the Plan does not discriminate unfairly and is fair and

 equitable with respect to the Deemed Rejecting Classes and thus satisfies section 1129(b) of the

 Bankruptcy Code with respect to such Classes as described further below.

        26.     The treatment of Allowed Administrative Claims, Allowed Professional Fee

 Claims, and Allowed Priority Tax Claims under Article II of the Plan, and of Allowed Other

 Priority Claims under Article III of the Plan, satisfies the requirements of, and complies in all

 respects with, section 1129(a)(9) of the Bankruptcy Code.

        27.     The Plan satisfies the requirements of section 1129(a)(10) of the Bankruptcy Code.

 As evidenced by the Voting Report, the Voting Classes voted to accept the Plan by the requisite

 numbers and amounts of Claims, determined without including any acceptance of the Plan by any

 insider (as that term is defined in section 101(31) of the Bankruptcy Code), specified under the

 Bankruptcy Code.

        28.     The Plan satisfies section 1129(a)(11) of the Bankruptcy Code. The evidence

 supporting the Plan proffered or adduced by the Debtors at or before the Combined Hearing is

 reasonable, persuasive, and credible, has not been controverted by other persuasive evidence, and



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 establishes that the Plan is feasible and Confirmation of the Plan is not likely to be followed by

 liquidation or the need for further financial reorganization except as contemplated by the Plan

 itself.

           29.   The Plan satisfies the requirements of section 1129(a)(12) of the Bankruptcy Code.

 Article XII.C of the Plan provides for the payment of all fees due and payable under 28 U.S.C.

 § 1930 by each of the Wind-Down Debtor (or the Distribution Agent on behalf of the Wind-Down

 Debtor).

           30.   The Debtors do not have any remaining obligations to pay retiree benefits (as

 defined in section 1114 of the Bankruptcy Code).          Therefore, section 1129(a)(13) of the

 Bankruptcy Code is inapplicable to these Chapter 11 Cases or the Plan.

           31.   Sections 1129(a)(14), 1129(a)(15), and 1129(a)(16) of the Bankruptcy Code do not

 apply to these Chapter 11 Cases. The Debtors owe no domestic support obligations, are not

 individuals, and are not nonprofit corporations.

           32.   The Plan satisfies the requirements of section 1129(b) of the Bankruptcy Code.

 Notwithstanding the fact that the Deemed Rejecting Classes have not accepted the Plan, the Plan

 may be confirmed pursuant to section 1129(b)(1) of the Bankruptcy Code. First, all of the

 requirements of section 1129(a) of the Bankruptcy Code other than section 1129(a)(8) have been

 met. Second, the Plan is fair and equitable with respect to Class 5 (Alameda Loan Facility Claims),

 Class 6 (Section 510(b) Claims), and Class 9 (Existing Equity Interests). The Plan has been

 proposed in good faith, is reasonable, and meets the requirements that (a) no Holder of any Claim

 or Interest that is junior to each such Class will receive or retain any property under the Plan on

 account of such junior Claim or Interest, and (b) no Holder of a Claim or Interest in a Class senior

 to such Classes is receiving more than payment in full on account of its Claim or Interest.



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 Specifically, to the extent Class 8 (Intercompany Interests) are Reinstated, such treatment is

 provided for administrative convenience and efficiency, and not on account of such Interests, and

 will not alter the treatment provided for any other Holder of any Claim or Interest. Further, Class 7

 (Intercompany Claims) will receive the treatment as determined by the Court. Accordingly, the

 Plan is fair and equitable towards all Holders of Claims and Interests in the Deemed Rejecting

 Classes. Third, the Plan does not discriminate unfairly with respect to the Deemed Rejecting

 Classes because similarly situated Claim and Interest Holders will receive substantially similar

 treatment on account of their Claims or Interests, as applicable, in such class. Therefore, the Plan

 may be confirmed despite the fact that not all Impaired Classes have voted to accept the Plan.

        33.     The Plan satisfies the requirements of section 1129(c) of the Bankruptcy Code.

 The Plan is the only chapter 11 plan filed in each of these Chapter 11 Cases.

        34.     The Plan satisfies the requirements of section 1129(d) of the Bankruptcy Code.

 The principal purpose of the Plan is not the avoidance of taxes or the avoidance of the application

 of section 5 of the Securities Act.

        35.     The Chapter 11 Cases are not small business cases and, accordingly,

 section 1129(e) of the Bankruptcy Code does not apply to the Chapter 11 Cases.

        36.     The Debtors have acted in “good faith” within the meaning of section 1125(e) of

 the Bankruptcy Code and in compliance with the applicable provisions of the Bankruptcy Code

 and Bankruptcy Rules in connection with all of their respective activities relating to support and

 consummation of the Plan, including the solicitation and receipt of acceptances of the Plan, and

 are entitled to the protections afforded by section 1125(e) of the Bankruptcy Code.

        37.     For the reasons set forth in the Decision, the exculpation provisions of the Plan (as

 modified herein) are reasonable in scope and consistent with applicable authority.



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          38.   Based on the foregoing, the Plan satisfies the requirements for Confirmation set

 forth in section 1129 of the Bankruptcy Code.

                                              ORDER

          BASED ON THE FOREGOING FINDINGS OF FACT AND CONCLUSIONS OF LAW,

 IT IS ORDERED, ADJUDGED, DECREED, AND DETERMINED THAT:

          39.   Approval of the Disclosure Statement.             The Disclosure Statement, the

 Solicitation Packages, and the Solicitation Procedures are approved on a final basis pursuant to

 section 1125 of the Bankruptcy Code.

          40.   Solicitation. To the extent applicable, the solicitation of votes on the Plan complied

 with sections 1125 and 1126 of the Bankruptcy Code, Bankruptcy Rules 3017 and 3018, all other

 provisions of the Bankruptcy Code, and all other applicable rules, laws, and regulations, and was

 appropriate and satisfactory and is approved in all respects.

          41.   Notice of Combined Hearing. The Notice of Combined Hearing was appropriate

 and satisfactory and is approved in all respects.

          42.   Confirmation of the Plan. The Plan (as it has been modified by the parties,

 including any modifications set forth herein) is approved in its entirety and CONFIRMED under

 section 1129 of the Bankruptcy Code.

          43.   Objections. All objections and all reservations of rights pertaining to Confirmation

 of the Plan and approval of the Disclosure Statement that have not been withdrawn, waived, or

 consensually resolved are overruled on the merits unless otherwise indicated in this Confirmation

 Order.

          44.   Plan Modifications. The Plan Modifications do not materially adversely affect the

 treatment of any Claim against or Interest in any of the Debtors under the Plan. Pursuant to

 Bankruptcy Rule 3019, these modifications do not require additional disclosure under section 1125
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 of the Bankruptcy Code or the resolicitation of votes under section 1126 of the Bankruptcy Code,

 nor do they require that the Holders of Claims or Interests be afforded an opportunity to change

 previously cast acceptances or rejections of the Plan. Accordingly, the Plan Modifications are

 hereby approved pursuant to section 1127(a) of the Bankruptcy Code and Bankruptcy Rule 3019.

 After giving effect to the Plan Modifications, the Plan continues to meet the requirements of

 sections 1122 and 1123 of the Bankruptcy Code.

        45.     Deemed Acceptance of Plan. In accordance with section 1127 of the Bankruptcy

 Code and Bankruptcy Rule 3019, all Holders of Claims and Interests who voted to accept the Plan

 or who are conclusively presumed to accept the Plan are deemed to have accepted the Plan, as

 modified by the Plan Modifications. No Holder of a Claim or Interest shall be permitted to change

 its vote as a consequence of the Plan Modifications.

        46.     Restructuring Transactions. On or before the Effective Date, the applicable

 Debtors will take any action as may be necessary or advisable to effectuate the Restructuring

 Transactions described in the Plan, the Restructuring Transactions Memorandum, and the

 Customer Onboarding Protocol, including, without limitation, the execution and delivery of

 appropriate instruments of transfer, assignment, assumption, or delegation of any asset, property,

 right, liability, debt, or obligation on terms consistent with the terms of the Plan, the transfer or

 distribution of any Cryptocurrency or Cash pursuant to the Asset Purchase Agreement and the

 Plan, as applicable, and the execution and delivery of the Plan Administrator Agreement

        47.     The Sale Transaction. The Sale Transaction and the Asset Purchase Agreement,

 all other ancillary documents, and all of the terms and conditions thereof, are hereby approved,

 pursuant to sections 105, 363, 364, and 554 of the Bankruptcy Code and Bankruptcy Rules 2002,

 4001, 6004, and 9014, each as applicable. Entry of this Confirmation Order shall authorize the



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 Debtors, the Purchaser, and the Wind-Down Debtor, as applicable, to undertake the transactions

 contemplated by the Asset Purchase Agreement, as applicable, including pursuant to sections 363,

 365, 1123(a)(5)(B), and 1123(a)(5)(D) of the Bankruptcy Code.

        48.     Pursuant to sections 363(b) and (f) of the Bankruptcy Code, the Debtors are

 authorized and empowered to take any and all actions necessary or appropriate to (a) consummate

 the Sale Transaction pursuant to and in accordance with the terms and conditions of the Asset

 Purchase Agreement, (b) close the Sale Transaction as contemplated in the Asset Purchase

 Agreement, and (c) execute and deliver, perform under, consummate, implement, and fully close

 the Asset Purchase Agreement, together with all additional instruments and documents that may

 be reasonably necessary or desirable to implement the Asset Purchase Agreement and the Sale

 Transaction.

        49.     Pursuant to sections 105(a), 363(b), 363(f), 365(b) and 365(f) of the Bankruptcy

 Code, the Debtors are authorized to transfer the Acquired Assets in accordance with the terms of

 the Asset Purchase Agreement and such transfer shall constitute a legal, valid, binding, and

 effective sale of the Acquired Assets and shall vest Purchaser with title to the Acquired Assets

 subject to the Asset Purchase Agreement, and to the fullest extent permitted by sections 363(f) and

 1123(b)(4) of the Bankruptcy Code the Acquired Assets shall be free and clear of all Liens, Claims,

 Encumbrances, and other interests of any kind or nature whatsoever (other than as expressly

 permitted under the Asset Purchase Agreement), with all such Liens, Claims, or other interests to

 attach to the cash proceeds of the Purchase Price ultimately attributable to the property against or

 in which such Liens, Claims, or other interests are asserted, subject to the terms thereof, with the

 same validity, force, and effect, and in the same order of priority, which such Liens, Claims, or




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 other interests had prior to the Sale Transaction, subject to any rights, claims, and defenses the

 Debtors or their estates, as applicable, may possess with respect thereto.

         50.     Except as otherwise permitted by the Asset Purchase Agreement, the Plan, or this

 Confirmation Order, all persons and entities holding Claims against or other interests in the

 Debtors, or any Liens against the Acquired Assets arising prior to the Effective Date, are hereby

 forever barred, estopped, and permanently enjoined from asserting such Claims, interests, or Liens

 against the Purchaser, any of the foregoing’s affiliates, successors, or assigns, their property or the

 Acquired Assets.

         51.     The Purchaser has acted in good faith and is entitled to the protections afforded

 under section 363(m) of the Bankruptcy Code. No evidence has been presented to this Court

 indicating that the Sale Transaction may be avoided pursuant to section 363(n) of the Bankruptcy

 Code.

         52.     Each and every federal, state, and local governmental agency or department is

 hereby authorized to accept any and all documents and instruments necessary and appropriate to

 consummate the transactions contemplated by the Asset Purchase Agreement. A certified copy of

 this Confirmation Order may be filed with the appropriate clerk or recorded with the recorder of

 any state, county, or local authority to act to cancel any of the Liens, Claims, and other

 encumbrances of record.

         53.     The Debtors and the Purchaser are each authorized to file a copy of this

 Confirmation Order, which, upon filing, shall be conclusive evidence of the release and

 termination of any Claim, Lien, or interest that is terminated under the terms of the Plan.

         54.     This Confirmation Order is and shall be binding upon and govern the acts of all

 persons and entities, including, without limitation, all filing agents, filing officers, title agents, title



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 companies, recorders of mortgages, recorders of deeds, registrars of deeds, administrative

 agencies, governmental departments, secretaries of state, federal, state, and local officials, and all

 other persons and entities who may be required by operation of law, the duties of their office, or

 contract, to accept, file, register, or otherwise record or release any documents or instruments; and

 each of the foregoing persons and entities is hereby directed to accept for filing any and all of the

 documents and instruments necessary and appropriate to consummate the transactions

 contemplated by the Asset Purchase Agreement.

        55.     All persons and entities that are presently, or on the Closing may be, in possession

 of some or all of the Acquired Assets pursuant to the Asset Purchase Agreement are hereby

 directed to surrender possession of the Acquired Assets to the Purchaser unless such person or

 entity was a good faith, bona fide purchaser of the Acquired Assets without notice of the Debtors’

 rights in such property. Subject to the terms, conditions, and provisions of this Confirmation

 Order, all persons and entities are hereby forever prohibited and enjoined from taking any action

 that would adversely affect or interfere with the ability of the Debtors to sell and/or transfer the

 Acquired Assets to the Purchaser in accordance with the terms of the Asset Purchase Agreement

 and this Confirmation Order.

        56.     To the fullest extent permitted by sections 363(f) and 1123(b)(4) of the Bankruptcy

 Code, and except as otherwise specified in the Asset Purchase Agreement, the Purchaser shall

 acquire the Acquired Assets free of any claim that it is liable for liabilities of the Debtors under

 theories of successor liability, de facto merger, substantial continuity or other similar theory. For

 the avoidance of doubt, (i) nothing herein shall release the Purchaser with respect to its obligations

 as Distribution Agent of Cryptocurrency and Cash to Holders of Account Holder Claims and OpCo

 General Unsecured Creditor Claims as provided in, and subject to the terms and conditions of, the



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 Asset Purchase Agreement and the Plan, and (ii) notwithstanding the transfer to Purchaser,

 pursuant to the Asset Purchase Agreement, of any Acquired Assets that constitute Coins or Cash,

 each User and Eligible Creditor shall retain, from and after the Closing of the Sale Transaction, all

 right, title, and interest in and to such Coins and Cash allocated to it on the Binance.US Platform

 in accordance with the Asset Purchase Agreement (notwithstanding any terms and conditions of

 the Binance.US Platform to the contrary, if any) through and including such time as such Coins

 and Cash are returned or distributed to Seller or such User and Eligible Creditor, as applicable,

 and such Coins and Cash shall be held by Purchaser solely in a custodial capacity in trust and

 solely for the benefit of Seller or the applicable User or Eligible Creditor thereafter.

        57.     The Asset Purchase Agreement and any related documents or other instruments

 may be modified, amended, or supplemented by the parties thereto in non-material ways in

 accordance with the terms thereof, without further order of the Court. Any material changes

 require the approval of this Court.

        58.     Paragraphs 47–57 of this Confirmation Order shall be deemed to be excised from

 this Confirmation Order in the event that the Asset Purchase Agreement is terminated prior to

 Closing. For the avoidance of doubt, subject to the requirements set forth in the Asset Purchase

 Agreement (including, without limitation, Sections 6.22 and 5.2(c) thereof), the Debtors may

 exercise the “fiduciary out” in Section 8.1(g) of the Asset Purchase Agreement at any time prior

 to Closing.

        59.     Actions by the Wind-Down Debtor. As soon as practicable after the Effective

 Date, the Wind-Down Debtor shall take such actions as the Wind-Down Debtor may determine to

 be necessary or desirable to carry out the purposes of the Plan. Any certificate of dissolution or

 equivalent document may be executed by the Wind-Down Debtor on behalf of any Wind-Down



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 Debtor without need for any action or approval by the shareholders or board of directors or

 managers of such Debtor; provided, that, no Debtor shall be dissolved while the independent

 director(s) at such Debtor remains in place. On and after the Effective Date, the Debtors or the

 Wind-Down Debtor (1) for all purposes shall be deemed to have withdrawn their business

 operations from any state in which the Debtors were previously conducting, or are registered or

 licensed to conduct, their business operations, and shall not be required to file any document, pay

 any sum, or take any other action in order to effectuate such withdrawal (2) shall be deemed to

 have cancelled pursuant to the Plan all Interests, and (3) shall not be liable in any manner to any

 taxing authority for franchise, business, license, or similar taxes accruing on or after the Effective

 Date. Pursuant to the terms of the Plan, any Money Transmitter Licenses that have not been

 terminated shall be deemed withdrawn and no further action is required to be taken by the Debtors

 or the Wind-Down Debtor to effectuate such withdrawal; provided that, following the Effective

 Date, the Debtors or the Wind-Down Debtor, as applicable, shall use commercially reasonable

 efforts to comply with all state banking department requirements for the surrender of a Money

 Transmitter License. Notwithstanding such Debtors’ dissolution, such Debtors shall be deemed

 to remain intact solely with respect to the preparation, filing, review, and resolution of applications

 for Professional Fee Claims.

        60.     [Reserved]

        61.     [Reserved]

        62.     [Reserved]

        63.     Binding Effect. Upon the occurrence of the Effective Date, the terms of the Plan

 are immediately effective and enforceable and deemed binding on the Debtors, the Wind-Down

 Debtor, any and all Holders of Claims or Interests (regardless of whether such Holders of Claims



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 or Interests have, or are deemed to have, accepted the Plan), all Entities that are parties to or are

 subject to the settlements, compromises, releases, and injunctions described in the Plan, each

 Entity acquiring property under the Plan or this Confirmation Order, and any and all non-Debtor

 parties to Executory Contracts and Unexpired Leases with the Debtors. All Claims and debts shall

 be as fixed, adjusted, or compromised, as applicable, pursuant to the Plan regardless of whether

 any Holder of a Claim or debt has voted on the Plan.

        64.     Pursuant to section 1141 of the Bankruptcy Code, subject to the occurrence of the

 Effective Date and subject to the terms of the Plan and this Confirmation Order, all prior orders

 entered in these Chapter 11 Cases and all documents and agreements executed by the Debtors as

 authorized and directed thereunder as of the Effective Date shall be binding upon and shall inure

 to the benefit of the Debtors, the Purchaser, or the Wind-Down Debtor, as applicable, and their

 respective successors and assigns.

        65.     Vesting of Assets. Except as otherwise provided in the Plan, this Confirmation

 Order, the Asset Purchase Agreement, the Schedule of Retained Causes of Action, or in any

 agreement, instrument, or other documented incorporated herein or therein, or in any agreement,

 instrument, or other document incorporated in the Plan or the Plan Supplement, notwithstanding

 any prohibition of assignability under applicable non-bankruptcy law and in accordance with

 section 1141 of the Bankruptcy Code, on the Effective Date, all property constituting Wind-Down

 Debtor Assets, including all Vested Causes of Action of the Debtors (unless otherwise released,

 waived, compromised, settled, satisfied, or transferred pursuant to the Plan) shall vest in the Wind-

 Down Debtor, free and clear of all Liens, Claims, charges, or other encumbrances.

        66.     Prior to the Effective Date, any and all of the Debtors’ assets shall remain assets of

 the Estates pursuant to section 1123(b)(3)(B) of the Bankruptcy Code and on the Effective Date



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 the Wind-Down Debtor Assets shall, subject to the Plan Administrator Agreement, be transferred

 to and vest in the Wind-Down Debtor. For the avoidance of doubt, to the extent not otherwise

 waived in writing, released, settled, compromised, assigned, or sold pursuant to a prior order or

 the Plan, the Plan Administrator specifically retains and reserves the right to assert, after the

 Effective Date, any and all of the Vested Causes of Action and related rights, whether or not

 asserted as of the Effective Date, and all proceeds of the foregoing, subject to the terms of the Plan,

 including without limitation Article IV.F.

        67.     On the Effective Date, the Debtors or Plan Administrator, as applicable, may

 establish one or more accounts or funds to hold and dispose of certain assets, pursue certain

 litigation (including the Vested Causes of Action), and/or satisfy certain Claims (including Claims

 that are contingent or have not yet been Allowed).

        68.     Effectiveness of All Actions. All actions required to implement the Plan, including

 all actions in connection with the Sale Transaction or the Liquidation Transaction, as applicable,

 are hereby effective and authorized to be taken on, prior to, or after the Effective Date, as

 applicable, under this Confirmation Order, without further application to, or order of the Court, or

 further action by the respective officers, directors, managers, members, or equity holders of the

 Debtors or the Wind-Down Debtor and with the effect that such actions had been taken by

 unanimous action of such officers, directors, managers, members, or equity holders.

        69.     Cancellation of Notes, Instruments, Certificates, and Other Documents. On

 the later of the Effective Date and the date on which distributions are made pursuant to the Plan

 (if not made on the Effective Date), except for the purpose of evidencing a right to and allowing

 Holders of Claims and Interests to receive a distribution under the Plan or to the extent otherwise

 specifically provided for in the Plan, this Confirmation Order, or any agreement, instrument, or



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 other document entered into in connection with or pursuant to the Plan or the Restructuring

 Transactions, all notes, bonds, indentures, certificates, Securities, shares, purchase rights, options,

 warrants, collateral agreements, subordination agreements, intercreditor agreements, or other

 instruments or documents directly or indirectly evidencing, creating, or relating to any indebtedness

 or obligations of, or ownership interest in, the Debtors, giving rise to any Claims against or Interests

 in the Debtors or to any rights or obligations relating to any Claims against or Interests in the

 Debtors shall be deemed cancelled without any need for a Holder to take further action with respect

 thereto.

        70.     For the avoidance of doubt, cancellation of Existing Equity Interests pursuant to the

 Plan shall not affect the rights of the Holders of Existing Equity Interests to receive distributions,

 if any, under the Plan on account of such Existing Equity Interests. Holders of Existing Equity

 Interests shall continue to possess all rights, powers, privileges, and standing associated with such

 Existing Equity Interests as if those Existing Equity Interests continue to exist subject to the terms

 of the Plan and this Confirmation Order.

        71.     Distributions. The procedures governing distributions contained in Article VI of

 the Plan shall be, and hereby are, approved in their entirety. Except as otherwise set forth in the

 Plan or this Confirmation Order, the Plan Administrator shall make all distributions required under

 the Plan and the timing of distributions required under the Plan or this Confirmation Order shall

 be made in accordance with and as set forth in the Plan, this Confirmation Order, or the Plan

 Administrator Agreement, as applicable; provided that, if a creditor does not timely provide the

 Plan Administrator with its taxpayer identification number in the manner and by the deadline

 established by the Plan Administrator and/or the Plan, the creditor shall be deemed to have

 forfeited its right to any current, reserved or future distributions provided for under the Plan and



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 such creditor’s Claim or Interest shall be disallowed and expunged without further order of the

 Court. Any such forfeited distribution shall be deemed to have reverted back to the Wind-Down

 Debtor for all purposes, including for distributions to other holders of Allowed Claims or Allowed

 Interests (as applicable) against the particular Debtor in respect of which the forfeited distribution

 was made, notwithstanding any federal, provincial or state escheat, abandoned or unclaimed

 property law to the contrary.

        72.     Claims Register. Any Claim or Interest that has been paid, satisfied, amended,

 superseded, cancelled, or otherwise expunged (including pursuant to the Plan) may be adjusted or

 expunged, as applicable, on the Claims Register at the direction of the Debtors or Wind-Down

 Debtor without the Debtors or Wind-Down Debtor having to File an application, motion,

 complaint, objection, or any other legal proceeding seeking to object to such Claim or Interest and

 without any further notice to or action, order, or approval of the Court.

        73.     Preservation of Rights of Action. In accordance with section 1123(b) of the

 Bankruptcy Code, the Wind-Down Debtor shall succeed to all rights to commence and pursue any

 and all Vested Causes of Action of the Debtors, whether arising before or after the Petition Date,

 including, without limitation, any actions specifically enumerated in the Schedule of Retained

 Causes of Action other than Causes of Action released, waived, settled, compromised, or

 transferred. Such rights shall be preserved by the Debtors and Wind-Down Debtor and shall vest

 in the Wind-Down Debtor, with the Wind-Down Debtor’s rights to commence, prosecute, or settle

 such Causes of Action preserved notwithstanding the occurrence of the Effective Date, other than

 the Causes of Action expressly released, waived, settled, compromised, or transferred by the

 Debtors pursuant to the releases and exculpations contained in the Plan, including in Article VIII




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 of the Plan or pursuant to the Asset Purchase Agreement, which shall be deemed released and

 waived by the Debtors and the Wind-Down Debtor as of the Effective Date.

        74.     No Entity may rely on the absence of a specific reference in the Schedules of Assets

 and Liabilities or Statement of Financial Affairs, the Plan, the Plan Supplement, the Disclosure

 Statement, or the Schedule of Retained Causes of Action to any Cause of Action against it as any

 indication that the Debtors or the Wind-Down Debtor will not pursue any and all available Causes

 of Action against it. The Wind-Down Debtor, on behalf of the Debtors and the Wind-Down

 Debtor, expressly reserves all rights to prosecute any and all Causes of Action against any Entity,

 except as otherwise provided in the Plan, including Article VIII of the Plan. Unless any Cause of

 Action of the Debtors is expressly waived, relinquished, exculpated, released, compromised, or

 settled in the Plan or pursuant to a Final Order, the Wind-Down Debtor, on behalf of the Debtors

 and Wind-Down Debtor and in accordance with the Plan Administrator Agreement, expressly

 reserves all such Causes of Action for later adjudication, and, therefore, no preclusion doctrine,

 including the doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion,

 estoppel (judicial, equitable, or otherwise), or laches, shall apply to such Causes of Action as a

 consequence of Confirmation.

        75.     Subordination. Pursuant to section 510 of the Bankruptcy Code, the Debtors and

 the Wind-Down Debtor reserve the right to reclassify any Allowed Claim or Allowed Interest in

 accordance with any contractual, legal, or equitable subordination relating thereto.

        76.     Release of Liens. Except as otherwise provided in the Plan, the Plan Supplement,

 or any contract, instrument, release, or other agreement or document created pursuant to the Plan

 or this Confirmation Order on the Effective Date, and concurrently with the applicable

 distributions made pursuant to the Plan, all mortgages, deeds of trust, Liens, pledges, or other



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 security interests against any property of the Estates shall be fully released, settled, and

 compromised, and all of the right, title, and interest of any holder of such mortgages, deeds of

 trust, Liens, pledges, or other security interests against any property of the Debtors shall

 automatically revert to the applicable Debtor or Wind-Down Debtor, as applicable, and their

 successors and assigns, in each case, without any further approval or order of the Court and without

 any action or Filing being required to be made by the Debtors. The presentation or filing of this

 Confirmation Order to or with any local, state, federal, or foreign agency or department shall

 constitute good and sufficient evidence of, but shall not be required to effect, the termination of

 such Liens.

        77.     Intercompany Claims. For the avoidance of doubt, nothing in this Confirmation

 Order or the Plan shall have any impact on the validity, extent, priority, or treatment of the

 Intercompany Claims. Any determination as to the validity, extent, priority, or treatment of the

 Intercompany Claims shall be determined by the Court in a separate matter on proper notice to

 parties in interest. Notwithstanding anything to the contrary in this Confirmation Order or the

 Plan, the rights of the ad hoc group of equityholders (the “AHG”) to continue or participate in any

 adjudication of the Intercompany Claims are preserved, and any party reserves any and all rights,

 claims, and defenses in connection therewith, including without limitation, the Debtors and/or the

 Wind-Down Debtor’s right to challenge the AHG’s standing with respect thereto; provided that

 such right, claim, or defense is not based on any provision in this Confirmation Order or the Plan.

        78.     Reserve for FTX Preference Claims. The Debtors shall reserve and hold the

 amount of $445 million in Cash on account of the preference claims asserted by FTX, Alameda,

 and their estates in the FTX Bankruptcy Proceeding, until such time as this Court rules upon the

 Debtors’ pending motion for approval of a stipulation with FTX and Alameda.



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        79.     Third-Party Releases.     For the avoidance of doubt, any party that did not

 affirmatively “opt in” to the Third-Party Releases contained in the Plan shall not be deemed to

 grant such Third-Party Releases contained in the Plan.

        80.     Contributed Third Party Claims. For the avoidance of doubt, any party that did

 not affirmatively “opt in” to contribute their Contributed Third-Party Claims to the Wind-Down

 Debtor shall not be deemed to contribute their claims to the Wind-Down Debtor; provided,

 however, that any party may contribute their Contributed Third-Party Claims to the Wind-Down

 Debtor on or after the Effective Date by separate agreement with the Plan Administrator and Wind-

 Down Debtor. Any such agreement shall be valid to the same extent as if the party affirmatively

 opted in to contribute their Contributed Third-Party Claims to the Wind-Down Debtor.

        81.     Operations After Closing. On and after the Effective Date, expect as otherwise

 provided in the Plan, the Debtors or the Wind-Down Debtor may use, acquire, or dispose of

 property and compromise or settle any Claims, Interests, or Causes of Action without supervision

 or approval by the Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules.

        82.     Assumption and Rejection of Executory Contracts and Unexpired Leases. On

 the Effective Date, except as otherwise provided in the Plan, each Executory Contract and

 Unexpired Lease not previously rejected, assumed, or assumed and assigned, including any

 employee benefit plans, severance plans, and other Executory Contracts under which employee

 obligations arise, shall be deemed automatically rejected pursuant to sections 365 and 1123 of the

 Bankruptcy Code, unless such Executory Contract or Unexpired Lease: (a) is specifically

 described in the Plan as to be assumed in connection with confirmation of the Plan, or is

 specifically scheduled to be assumed or assumed and assigned pursuant to the Plan or the Plan

 Supplement; (b) is subject to a pending motion to assume such Unexpired Lease or Executory



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 Contract as of the Effective Date; (c) is to be assumed by the Debtors or assumed by the Debtors

 and assigned to another third party, as applicable, in connection with the Sale Transaction; (d) is a

 contract, instrument, release, indenture, or other agreement or document entered into in connection

 with the Plan; or (e) is a D&O Liability Insurance Policy other than the Side-A Policy. Entry of

 this Confirmation Order constitutes approval of such assumptions, assignments, and rejections,

 including the assumption of the Executory Contracts or Unexpired Leases as provided in the Plan

 Supplement, pursuant to sections 365(a) and 1123 of the Bankruptcy Code. Except as otherwise

 provided in this Confirmation Order, any and all objections or reservations of rights in connection

 with the rejection of an Executory Contract or Unexpired Lease under the Plan, if any, are

 overruled on their merits.

        83.     Except with respect to the Executory Contracts and Unexpired Leases discussed in

 the following paragraph of this Confirmation Order, the amounts set forth in the Plan Supplement

 (the “Cure Amounts”) are the sole amounts necessary to be paid upon assumption of the associated

 Executory Contracts and Unexpired Leases under section 365(b)(1)(A) and (B) of the Bankruptcy

 Code, and the payment of such amounts will effect a cure of all defaults existing under such

 Executory Contracts and Unexpired Leases and compensate the counterparties to such Executory

 Contracts and Unexpired Leases for any actual pecuniary loss resulting from all defaults existing

 under such Executory Contracts and Unexpired Leases as of the Effective Date.

        84.     The objections of counterparties to the assumption of their Executory Contracts and

 Unexpired Leases, to the extent that such objection was timely raised in accordance with

 Article V.C of the Plan, are preserved and will be considered by the Court at a date and time to be

 scheduled. As provided in the Conditional Disclosure Statement Order and the Solicitation

 Packages, the Debtors and the Wind-Down Debtor have reserved the right to (a) add any Executory



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 Contract or Unexpired Lease to the Assumed Contract Schedule and assume such Executory

 Contract or Unexpired Lease pursuant to the terms of the Plan, or remove any Executory Contract

 or Unexpired Lease from the Assumed Contract Schedule, in each case, up until the Effective Date

 and (b) contest any Claim asserted in connection with rejection of any Executory Contract or

 Unexpired Lease.

        85.     Insurance Policies and Surety Bonds. The Debtors shall continue to satisfy their

 obligations under their insurance policies in full and continue such programs in the ordinary course

 of business.   Each of the Debtors’ insurance policies, and any agreements, documents, or

 instruments relating thereto shall be treated as Executory Contracts under the Plan. Without ruling

 as to whether the assumption of an insurance policy was required, for the avoidance of doubt, on

 the Effective Date: (a) the Debtors shall be deemed to have assumed, to the extent necessary, each

 D&O Liability Insurance Policy (including, without limitation, any “tail policy” and all

 agreements, documents, or instruments related thereto) other than the Side-A Policy, with the

 Wind-Down Debtor being authorized to pursue any proceeds thereof on behalf of the Debtors or

 the Wind-Down Debtor; and (b) such insurance policies and any agreements, documents, or

 instruments relating thereto shall revest in the applicable Wind-Down Debtor(s) unaltered. The

 Side-A Policy shall remain in effect, with all insureds retaining the right to coverage (subject to

 the D&O settlement); provided, however, that Wind-Down Debtor preserves all avoidance and

 other actions against the D&O Carriers in connection with the premium paid thereunder. All

 beneficiaries under the D&O Insurance Policies reserve their rights under such D&O Insurance

 Policies (including the Side-A Policy) subject to the limitations set forth in the Plan.

        86.     Subject to their rights to pursue claims against the D&O Carriers to seek avoidance

 of the policy premium paid for the Side-A Policy, as detailed in Paragraph 85 herein, the Debtors



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 or the Wind-Down Debtor, as applicable, shall not terminate or otherwise reduce the coverage

 under any D&O Liability Insurance Policy (including, without limitation, any “tail policy” and all

 agreements, documents, or instruments related thereto) in effect prior to the Effective Date, and

 subject in all respects to the D&O Settlement, any current and former directors, officers, managers,

 and employees of the Debtors who served in such capacity at any time before or after the Effective

 Date shall be entitled to the full benefits of any such policy for the full term of such policy subject

 to the terms thereof regardless of whether such directors, officers, managers, and employees

 remain in such positions after the Effective Date. Notwithstanding anything to the contrary in the

 Plan, the Debtors or the Wind-Down Debtor shall retain the ability to supplement such D&O

 Liability Insurance Policy as the Debtors or Wind-Down Debtor may deem necessary, subject to

 the prior written consent of the Wind-Down Debtor.

        87.     Nothing in paragraphs 85–86 shall be read to alter, impair, waive, or otherwise limit

 the Debtors’ and the Wind-Down Debtors’ rights to pursue claims against the D&O Carriers to

 seek avoidance of the policy premium for the Side-A Policy.

        88.     Authorization to Consummate. The Debtors are authorized to consummate the

 Plan at any time after the entry of this Confirmation Order subject to satisfaction or waiver (by the

 required parties) of the conditions precedent to consummation as set forth in Article IX of the Plan.

        89.     Professional Compensation. All final requests for payment of Professional Fee

 Claims for services rendered and reimbursement of expenses incurred prior to the Effective Date

 must be Filed no later than sixty (60) days after the Effective Date. The Court shall determine the

 Allowed amounts of such Professional Fee Claims after notice and a hearing in accordance with

 the procedures established by the Bankruptcy Code and Bankruptcy Rules. The Wind-Down

 Debtor shall pay Professional Fee Claims in Cash to such Professionals in the amount the Court



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 allows, including from funds held in the Professional Fee Escrow Account as soon as reasonably

 practicable after such Professional Fee Claims are Allowed by entry of an order of the Court;

 provided that the Debtors’ and the Wind-Down Debtor’s obligations to pay Allowed Professional

 Fee Claims shall not be limited or deemed limited to funds held in the Professional Fee Escrow

 Account.

        90.     No later than the Effective Date, the Debtors shall establish and fund the

 Professional Fee Escrow Account with Cash equal to the Professional Fee Escrow Amount. The

 Professional Fee Escrow Account shall be maintained in trust solely for the Professionals and for

 no other Entities until all Professional Fee Claims Allowed by the Court have been irrevocably

 paid in full to the Professionals pursuant to one or more Final Orders of the Court. No Liens,

 claims, or interests shall encumber the Professional Fee Escrow Account or Cash held in the

 Professional Fee Escrow Account in any way. No funds held in the Professional Fee Escrow

 Account shall be property of the Estates of the Debtors or the Wind-Down Debtor. When all

 Professional Fee Claims Allowed by the Court have been irrevocably paid in full to the

 Professionals pursuant to one or more Final Orders of the Court, any remaining funds held in the

 Professional Fee Escrow Account shall be turned over to the Wind-Down Debtor without any

 further notice to or action, order, or approval of the Court or any other Entity.

        91.     The Professionals shall deliver to the Debtors a reasonable and good-faith estimate

 of their unpaid fees and expenses incurred in rendering services to the Debtors before and as of

 the Confirmation Date projected to be outstanding as of the anticipated Effective Date, and shall

 deliver such estimate no later than five Business Days prior to the anticipated Effective Date. For

 the avoidance of doubt, no such estimate shall be considered or deemed an admission or limitation

 with respect to the amount of the fees and expenses that are the subject of a Professional’s final



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 request for payment of Professional Fee Claims Filed with the Court, and such Professionals are

 not bound to any extent by the estimates. If a Professional does not provide an estimate, the

 Debtors may estimate the unpaid and unbilled fees and expenses of such Professional. The total

 aggregate amount so estimated to be outstanding as of the anticipated Effective Date shall be

 utilized by the Debtors to determine the amount to be funded to the Professional Fee Escrow

 Account; provided that the Wind-Down Debtor shall use Cash on hand to increase the amount of

 the Professional Fee Escrow Account to the extent fee applications are Filed after the Effective

 Date in excess of the amount held in the Professional Fee Escrow Account based on such estimates.

        92.     Except as otherwise specifically provided in the Plan, from and after the Effective

 Date, the Debtors and/or the Wind-Down Debtor, as applicable, shall, in the ordinary course of

 business and without any further notice to or action, order, or approval of the Court, pay in Cash

 the reasonable and documented legal, professional, or other fees and expenses related to

 implementation of the Plan and Consummation incurred by the Wind-Down Debtor. Upon the

 Effective Date, any requirement that Professionals comply with sections 327 through 331, 363,

 and 1103 of the Bankruptcy Code in seeking retention or compensation for services rendered after

 such date shall terminate, and the Wind-Down Debtor may employ and pay any Professional in

 the ordinary course of business for the period after the Confirmation Date without any further

 notice to or action, order, or approval of the Court.

        93.     Return of Deposits. All utilities, including, but not limited to, any Person or Entity

 that received a deposit or other form of adequate assurance of performance under section 366 of

 the Bankruptcy Code during these Chapter 11 Cases, must return such deposit or other form of

 adequate assurance of performance to the Wind-Down Debtor promptly following the occurrence

 of the Effective Date, if not returned or applied earlier.



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        94.     Release, Exculpation, and Injunction Provisions. The release and exculpation

 provisions set forth in the Plan and as modified herein (including as set forth in sections VI.B.1,

 VIII.A, VIII.B, and VIII.C of the Plan) are approved and authorized, and such provisions are

 effective and binding on all Persons and Entities to the extent provided therein except as otherwise

 provided in this Confirmation Order, provided, however, that nothing in the exculpation related

 provisions of the Plan shall release the Debtors from the provisions of the Plan governing

 satisfaction of Allowed Claims including Allowed Administrative Expense Claims or change the

 standard for liability on Allowed Claims or Allowed Administrative Expense Claims, subject to

 any applicable bankruptcy and non-bankruptcy law.

        95.     As set forth in Article VIII.C of the Plan, the assets of the Debtors and of the

 Wind-Down Debtor shall be used for the satisfaction of expense obligations and the payment of

 Claims and Interests only in the manner set forth in this Plan and shall not be available for any

 other purpose. All Persons and Entities who have held, hold, or may hold Claims or Interests

 based upon any act, omission, transaction, or other activity of any kind or nature related to the

 Debtors, the Wind-Down Debtor, or the Debtors’ Chapter 11 Cases that occurred prior to the

 Effective Date, other than as expressly provided in the Plan or the Confirmation Order, shall be

 precluded and permanently enjoined on and after the Effective Date from interfering with the use

 and distribution of the Debtors’ assets in the manner contemplated by the Plan.

        96.     In addition, as of the Effective Date and subject to the occurrence of the Effective

 Date, except as otherwise specifically provided in this Plan or the Confirmation Order, all Persons

 and Entities who have held, hold, or may hold Claims or Interests that are fully satisfied pursuant

 to the Plan or any Claim or Interest that is subject to the releases and exculpations set forth in

 Article VIII.B and Article VIII.C of this Plan shall be precluded and permanently enjoined on and



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 after the Effective Date from enforcing, pursuing, or seeking any setoff or relief with respect to

 such Claims or Interests, except for the receipt of the payments or distributions that are

 contemplated by this Plan.

         97.     Effective as of the Effective Date, to the fullest extent permissible under applicable

 law and without affecting or limiting either the Debtor release or the third-party release, and except

 as otherwise specifically provided in the Plan, no Exculpated Party shall have or incur, and each

 Exculpated Party is hereby exculpated from, any liability for damages based on the negotiation,

 execution and implementation of any transactions or actions approved by the Bankruptcy Court in

 the Chapter 11 Cases, except for Causes of Action related to any act or omission that is determined

 in a Final Order to have constituted actual fraud, willful misconduct, or gross negligence; provided

 that nothing in the Plan shall limit the liability of professionals to their clients pursuant to N.Y.

 Comp. Codes R. & Regs. tit. 22 § 1200.8 Rule 1.8(h)(1) (2009).

         98.     The Exculpated Parties have, and upon Consummation of the Plan shall be deemed

 to have, participated in good faith and in compliance with the applicable laws with regard to the

 solicitation of votes.

         99.     In addition, the Plan contemplates certain rebalancing transactions and the

 completion of distributions of cryptocurrencies to creditors. The Exculpated Parties shall have no

 liability for, and are exculpated from, any claim for fines, penalties, damages, or other liabilities

 based on their execution and completion of the rebalancing transactions and the distribution of

 cryptocurrencies to creditors in the manner provided in the Plan. For the avoidance of doubt, this

 paragraph reflects the fact that Confirmation of the Plan requires the Exculpated Parties to engage

 in certain rebalancing transactions and distributions of cryptocurrencies and the fact that no

 regulatory authority has taken the position during the Combined Hearing that such conduct would



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 violate applicable laws or regulations. Nothing in this provision shall limit in any way the powers

 of any Governmental Unit to contend that any rebalancing transaction should be stopped or

 prevented, or that any other action contemplated by the Plan should be enjoined or prevented from

 proceeding further. Nor does anything in this provision limit the enforcement of any future

 regulatory or court order that requires that such activities either cease or be modified, or limit the

 penalties that may be applicable if such a future regulatory or court order is issued and is violated.

 Similarly, nothing herein shall limit the authority of the Committee on Foreign Investment of the

 United States to bar any of the contemplated transactions. Nor does anything in this provision

 alter the terms of the Plan regarding the compliance of the Purchaser with applicable laws in the

 Unsupported Jurisdictions before distributions of cryptocurrency occur in those Unsupported

 Jurisdictions.

        100.      For the avoidance of doubt, the Debtors are not entitled to a discharge under section

 1141(d).

        101.      Governmental Units. Except as set forth in the exculpation provisions set forth in

 the Plan (including sections VI.B.1 and VIII.C of the Plan) and in this Confirmation Order, nothing

 in this Confirmation Order or the Plan shall release or restrict any claim by the United States, the

 States or any of their agencies of any claim arising under the Internal Revenue Code, the

 environmental laws or any civil or criminal laws of the United States or the States, or under any

 rules or regulations enforced by the United States, the States or any of their agencies against the

 Released Parties, nor shall anything in the Confirmation Order or the Plan enjoin the United States

 or the States from bringing any claim, suit, action or other proceedings against the Released Parties

 for any liability for any claim, suit or action arising under the Internal Revenue Code, the

 environmental laws or any civil or criminal laws of the United States or the States, or under any



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 rules or regulations enforced by the United States, the States or any of their agencies, nor shall

 anything in the Confirmation Order or the Plan exculpate any such party from any liability to the

 United States, the States or any of their agencies, arising under the Internal Revenue Code, the

 environmental laws or any civil or criminal laws of the United States or the States, or under any

 rules or regulations enforced by the United States, the States or any of their agencies; provided,

 however, that nothing in this Confirmation Order or the Plan shall modify in any respect the relief

 previously granted in the Bar Date Order.

        102.    Except as set forth in the exculpation provisions set forth in the Plan (including

 sections VI.B.1 and VIII.C of the Plan) and in this Confirmation Order, nothing in this

 Confirmation Order, the Disclosure Statement, the Plan, or the Asset Purchase Agreement releases,

 precludes, or enjoins: (i) any liability to any governmental unit as defined in 11 U.S.C. § 101(27)

 (“Governmental Unit”) that is not a “claim” as defined in 11 U.S.C. § 101(5) (“Claim”); (ii) any

 Claim of a Governmental Unit arising on or after the Effective Date; or (iii) any liability to a

 Governmental Unit on the part of any non-Debtor (except to the extent set forth in paragraphs 49

 and 56 herein); provided, however, that nothing in this Confirmation Order or the Plan shall modify

 in any respect the relief previously granted in the Bar Date Order.

        103.    Securities and Exchange Commission Provisions. Notwithstanding anything to

 the contrary in this Confirmation Order, or any findings announced at the Combined Hearing,

 nothing in this Confirmation Order, or announced at the Combined Hearing, constitutes a finding

 under the federal securities laws as to whether crypto tokens or transactions involving crypto

 tokens are securities, and the right of the SEC to challenge transactions involving crypto tokens on

 any basis is expressly reserved.




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        104.    Notwithstanding any provision herein to the contrary, nothing in this Confirmation

 Order or the Plan grants this Court jurisdiction over any police and regulatory actions by the SEC,

 and the SEC shall retain the power and authority to commence and continue any such actions

 against any person or entity, including without limitation, the Debtors, in any forum with

 jurisdiction; provided, however, that nothing in this Confirmation Order or the Plan shall modify

 in any respect the relief previously granted in the Bar Date Order.

        105.    Upon the occurrence of the Effective Date, the Debtors’ books and records shall be

 transferred to the Wind-Down Debtor, which shall continue to preserve all financial books and

 records, emails, and other financial documents relating to the Debtors’ business that are currently

 in the Debtors’ possession. The Wind-Down Debtor shall not destroy or otherwise abandon any

 such documents or records without providing advance notice to the SEC (c/o Therese Scheuer,

 U.S. Securities and Exchange Commission, 100 F Street, NE, Washington, DC 20549,

 ScheuerT@SEC.GOV) and seeking further authorization from this Court. Nothing in the Plan or

 this Confirmation Order shall affect the obligations of the pre-Effective Date Debtors, the

 Wind-Down Debtor, and/or any transferee or custodian to maintain all books and records that are

 subject to any governmental subpoena, document preservation letter, or other investigative request

 from a governmental agency.

        106.    Notwithstanding any language to the contrary herein, no provision in the Plan or

 this Confirmation Order shall (a) preclude the OSC or the SEC from enforcing its police or

 regulatory powers or conducting any investigations of any person or entity, or (b) subject to the

 exculpation provisions set forth in the Plan (including sections VI.B.1 and VIII.C of the Plan) and

 in this Confirmation Order, enjoin, limit, impair or delay the OSC or SEC from commencing or




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 continuing any claims, causes of action or proceeding against any non-Debtor person or non-

 Debtor entity in any forum.

        107.    Employee Transition Plan. The Employee Transition Plan, the terms of which

 are included in the Plan Supplement as Exhibit H, will be implemented following the Effective

 Date and is not subject to the Court’s approval.

        108.    Compliance with Tax Requirements. In connection with the Plan, to the extent

 applicable, the Debtors, the Wind-Down Debtor, any Distribution Agent, and any other applicable

 withholding and reporting agents shall comply with all tax withholding and reporting requirements

 imposed on them by any Governmental Unit, and all distributions pursuant to the Plan shall be

 subject to such withholding and reporting requirements. Notwithstanding any provision in the

 Plan to the contrary, the Debtors, the Wind-Down Debtor, the Distribution Agent, and any other

 applicable withholding and reporting agents shall be authorized to take all actions necessary or

 appropriate to comply with such withholding and reporting requirements, including winding-down

 a portion of the distribution to be made under the Plan to generate sufficient funds to pay applicable

 withholding taxes, withholding distributions pending receipt of information necessary to facilitate

 such distributions, or establishing any other mechanisms that are reasonable and appropriate;

 provided that the Wind-Down Debtor and the Distribution Agent, as applicable, shall request

 appropriate documentation from the applicable distributees and allow such distributees a

 reasonable amount of time to respond. The Debtors, the Wind-Down Debtor, the Distribution

 Agent, and any other applicable withholding and reporting agents reserve the right to allocate all

 distributions made under the Plan in compliance with all applicable wage garnishments, alimony,

 child support, and other spousal awards, liens, and encumbrances.




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         109.    Exemption from Certain Taxes and Fees. To the fullest extent permitted by

 section 1146(a) of the Bankruptcy Code, any transfers (whether from a Debtor to a Debtor, the

 Wind-Down Debtor, the Purchaser, or to any other Entity) of property under the Plan or pursuant

 to: (a) the issuance, distribution, transfer, or exchange of any debt, equity security, or other interest

 in the Debtors or the Wind-Down Debtor; (b) the creation, modification, consolidation,

 termination, refinancing, and/or recording of any mortgage, deed of trust, or other security interest,

 or the securing of additional indebtedness by such or other means; (c) the making, assignment, or

 recording of any lease or sublease; or (d) the making, delivery, or recording of any deed or other

 instrument of transfer under, in furtherance of, or in connection with, the Plan, including any deeds,

 bills of sale, assignments, or other instrument of transfer executed in connection with any

 transaction arising out of, contemplated by, or in any way related to the Plan, including the Asset

 Purchase Agreement, shall not be subject to any document recording tax, stamp tax, conveyance

 fee, intangibles or similar tax, mortgage tax, real estate transfer tax, mortgage recording tax, sales

 or use tax, Uniform Commercial Code filing or recording fee, regulatory filing or recording fee,

 or other similar tax or governmental assessment, and upon entry of this Confirmation Order, the

 appropriate state or local governmental officials or agents shall forgo the collection of any such

 tax or governmental assessment and accept for filing and recordation any of the foregoing

 instruments or other documents without the payment of any such tax, recordation fee, or

 governmental assessment. All filing or recording officers (or any other Person with authority over

 any of the foregoing), wherever located and by whomever appointed, shall comply with the

 requirements of section 1146(a) of the Bankruptcy Code, shall forgo the collection of any such tax

 or governmental assessment, and shall accept for filing and recordation any of the foregoing

 instruments or other documents without the payment of any such tax or governmental assessment.



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        110.    Termination of Asset Purchase Agreement. If the Asset Purchase Agreement is

 terminated and the Sale Transaction is not consummated, all provisions in this Confirmation Order

 relating to the Asset Purchase Agreement, the Sale Transaction, and the Purchaser shall be of no

 force and effect, and the Debtors are authorized to consummate the Liquidation Transaction

 without further order of the Court.

        111.    The Liquidation Transaction. If the Asset Purchase Agreement is terminated, the

 Debtors shall pursue the Liquidation Transaction contemplated under the Plan and shall provide

 all Holders of Claims and Interests with the treatment afforded to such Holders under the Plan. In

 the event that the Debtors determine to pursue the Liquidation Transaction contemplated under

 Article IV of the Plan, the Debtors shall promptly notify the Court and all parties in interest. The

 Plan shall be deemed to satisfy all requirements under the Bankruptcy Code with respect to either

 the Sale Transaction or the Liquidation Transaction pursuant to this Confirmation Order.

        112.    Documents, Mortgages, and Instruments. Each federal, state, commonwealth,

 local, foreign, or other governmental agency is authorized to accept any and all documents,

 mortgages, and instruments necessary or appropriate to effectuate, implement, or consummate the

 Plan, including the Restructuring Transactions, and this Confirmation Order.

        113.    The BNY Objection. This Confirmation Order confirms that the Deed of Trust

 and Assignment of Rents recorded January 5, 2023 Official Records of Orange County (the

 “Deed”) transferring title of 37 Black Hawk, Irvine, California 92603 (the “Property”) from

 Michael G. Beason and Mickey L. Wiebeis (collectively, the “Property Borrowers”) to Voyager

 Digital, LLC is void. This Confirmation Order may be recorded against the Property as evidence

 and confirmation that the Deed is void. The Bank Of New York Mellon f/k/a the Bank Of New

 York, As Trustee For The Certificateholders Of CWALT, Inc., Alternative Loan Trust 2005-38,



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 Mortgage Pass-Through Certificates, Series 2005-38 as Serviced by Shellpoint Mortgage

 Servicing (“Shellpoint”) shall be permitted to take any other the necessary actions to void the

 Deed. To the extent necessary, the automatic stay is lifted solely as it pertains to Shellpoint’s

 rights to take action against the Property and shall be effective immediately upon entry of this

 Confirmation Order. The Debtor(s) shall not be party to any foreclosure or other proceeding

 related to the Property as they lack any interest in the Property. Shellpoint shall release the Debtors

 and the Wind-Down Debtor of any costs and claims incurred on account of the Property, including

 any actions taken in any foreclosure or other proceeding or associated with voiding the Deed. This

 Confirmation Order shall in no way prevent Shellpoint from pursuing any and all lawful rights and

 remedies as to the Property Borrowers.

        114.    Continued Effect of Stays and Injunction. Unless otherwise provided in the Plan

 or this Confirmation Order, all injunctions or stays arising under or entered during these

 Chapter 11 Cases under section 362 of the Bankruptcy Code or otherwise and in existence on the

 Confirmation Date, shall remain in full force and effect until the later of the Effective Date and the

 date indicated in the order providing for such injunction or stay.

        115.    Notice of Subsequent Pleadings. Except as otherwise provided in the Plan or in

 this Confirmation Order, notice of all subsequent pleadings in these Chapter 11 Cases after the

 Effective Date will be limited to the following parties: (a) the Wind-Down Debtor and its counsel;

 (b) the U.S. Trustee; (c) counsel to the Purchaser; (d) any party known to be directly affected by

 the relief sought by such pleadings; and (e) any party that has previously requested notice or who

 files a request for notice under Bankruptcy Rule 2002 after the Effective Date. The Claims,

 Noticing, and Solicitation Agent shall not be required to file updated service lists.




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        116.    Choice of Law. Unless a rule of law or procedure is supplied by federal law

 (including the Bankruptcy Code and Bankruptcy Rules) or unless otherwise specifically stated, the

 laws of the State of New York, without giving effect to the principles of conflict of laws, shall

 govern the rights, obligations, construction, and implementation of the Plan and any agreements,

 documents, instruments, or contracts executed or entered into in connection with the Plan (except

 as otherwise set forth in those agreements, documents, instruments, or contracts, in which case the

 governing law of such agreement shall control); provided that corporate, limited liability company,

 or partnership governance matters relating to the Debtors or the Wind-Down Debtor, as applicable,

 shall be governed by the laws of the jurisdiction of incorporation or formation of the relevant

 Debtor or Wind-Down Debtor, as applicable.

        117.    Protection Against Discriminatory Treatment. As provided by section 525 of

 the Bankruptcy Code, and consistent with paragraph 2 of Article VI of the United States

 Constitution, no Entity, including Governmental Units, shall discriminate against any Wind-Down

 Debtor or deny, revoke, suspend, or refuse to renew a license, permit, charter, franchise, or other

 similar grant to, condition such a grant to, or discriminate with respect to such a grant against, any

 Wind-Down Debtor, or any Entity with which a Wind-Down Debtor has been or is associated,

 solely because such Wind-Down Debtor was a debtor under chapter 11 of the Bankruptcy Code or

 may have been insolvent before the commencement of the Chapter 11 Cases (or during the

 Chapter 11 Cases).

        118.    Notices of Confirmation and Effective Date. The Debtors or the Wind-Down

 Debtor, as applicable, shall serve notice of entry of this Confirmation Order, of the occurrence of

 the Effective Date, and of applicable deadlines (the “Notice of Confirmation”) in accordance with

 Bankruptcy Rules 2002 and 3020(c) on all parties served with the Combined Hearing Notice seven



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 Business Days after the Effective Date; provided that no notice of any kind shall be required to be

 mailed or made upon any Entity to whom the Debtors mailed notice of the Combined Hearing, but

 received such notice returned marked “undeliverable as addressed,” “moved, left no forwarding

 address,” or “forwarding order expired,” or similar reason, unless the Debtors have been informed

 in writing by such Entity, or are otherwise aware, of that Entity’s new address. For those parties

 receiving electronic service, filing on the docket is deemed sufficient to satisfy such service and

 notice requirements.

        119.      No later than ten Business Days after the Effective Date, the Wind-Down Debtor

 shall cause the Notice of Confirmation, modified for publication, to be published on one occasion

 in The New York Times (national edition) and USA Today (national edition). Mailing and

 publication of the Notice of Confirmation in the time and manner set forth in this paragraph will

 be good, adequate, and sufficient notice under the particular circumstances and in accordance with

 the requirements of Bankruptcy Rules 2002 and 3020(c). No further notice is necessary.

        120.      Dissolution of Statutory Committees. On the Effective Date, any statutory

 committee appointed in the Chapter 11 Cases shall dissolve, and the members thereof shall be

 released and discharged from all rights and duties arising from, or related to, the Chapter 11 Cases;

 provided, however, that such committees will remain in existence for the limited purposes of

 (a) pursuing, supporting, or otherwise participating in, any outstanding appeals in the Chapter 11

 Cases; and (b) filing, objecting, or otherwise participating in, any final fee applications of

 Professionals.

        121.      Exemption from Registration. The Plan Administrator shall hold the equity of

 Voyager Digital Ltd., to the extent that any new equity is issued, in an agency capacity, for the




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 benefit of and to facilitate the rights of Holders of Interests provided under the Plan; provided that

 such equity, if issued, shall be uncertificated and non-transferable.

        122.    Effect of Non-Occurrence of Conditions to Confirmation. If the Effective Date

 does not occur within 120 days after the Confirmation Date, then the Plan will be null and void in

 all respects, any and all compromises or settlements not previously approved by Final Order of the

 Court embodied in the Plan (including with respect to the fixing, limiting, or treatment of any

 Claim or Interest), shall be deemed null and void, and nothing contained in the Plan or the

 Disclosure Statement shall: (a) constitute a waiver or release of any Claims, Interests, or Causes

 of Action held by any Debtor or any other Entity; (b) prejudice in any manner the rights of any

 Debtor or any other Entity; or (c) constitute an admission, acknowledgment, offer, or undertaking

 of any sort by any Debtor or any other Entity in any respect.

        123.    Substantial Consummation. On the Effective Date, the Plan shall be deemed to

 have been substantially consummated or shall be anticipated to be substantially consummated

 concurrent with the occurrence of the Effective Date.

        124.    Waiver of Stay. For good cause shown, the stay of this Confirmation Order

 provided by the Bankruptcy Rules shall terminate at the end of the day on March 13, 2023, and

 this Confirmation Order shall be effective and enforceable immediately thereafter.

        125.    Headings. Headings utilized herein are for convenience and reference only, and

 do not constitute a part of the Plan or this Confirmation Order for any other purpose.

        126.    Effect of Conflict. This Confirmation Order supersedes any Court order issued

 prior to the Confirmation Date that may be inconsistent with this Confirmation Order. If there is

 any inconsistency between the terms of the Plan and the terms of this Confirmation Order, the

 terms of this Confirmation Order shall govern and control. For the avoidance of doubt, the



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 Stipulation and Agreed Order Between the Debtors and Metropolitan Commercial Bank [Docket

 No. 821] remains in effect and is not superseded by this Confirmation Order.

        127.    Final, Appealable Order. This Confirmation Order is a final judgment, order, or

 decree for purposes of 28 U.S.C. § 158(a), and the period in which an appeal must be filed shall

 commence upon the entry hereof.

        128.    Retention of Jurisdiction. The Court may properly, and upon the Effective Date

 shall, to the full extent set forth in the Plan, retain jurisdiction over all matters arising out of, or

 related to, the Chapter 11 Cases and the Plan pursuant to sections 105(a) and 1142 of the

 Bankruptcy Code, including (i) the matters set forth in Article XI of the Plan and (ii) as set forth

 in Section 10.13 of the Asset Purchase Agreement.

  Dated: New York, New York
         March 10, 2023
                                                   /s/ Michael E. Wiles
                                                   THE HONORABLE MICHAEL E. WILES
                                                   UNITED STATES BANKRUPTCY JUDGE




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